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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE 3

VALUE RECOVERY GROUP, INC,,
as successor-in-interest to

JDC Finance Company III, L.P.

as successor-in interest to

Federal Deposit Insurance Corporation

 

Plaintiff(s)
vs
H. LISA STEELE A/K/A LISA STEELE
Defendant(s) CASE NO. 99-6902 WPD

ASSIGNMENT OF JUDGMENT

FOR VALUE RECEIVED, the undersigned, THE CADLE COMPANY, an Ohio corporation located at 100
North Center Street, Newton Falls, Ohio 44444 (hereinafter the ““Assignor”), hereby transfers, assigns and conveys without
recourse unto Cadles of Grassy Meadows II, L.L.C., a West Virginia limited liability company located at 100 North Center
Street, Newton Falls, Ohio 44444 (hereinafter the “Assignee”), all its right, title, interest, powers and options in, if any, in
the Judgment rendered against Defendant(s) in the United States District Court, Southern District of New York, wherein
Federal Deposit Insurance Corporation, as Receiver for American Savings Bank (f/k/a American Savings Bank, FSB) was
the Plaintiff and H. Lisa Steele (a/k/a Lisa Steele), Roblis Enterprises, Ltd., Manufacturers Hanover Trust Company,
Columbia Capital Corporation, Fleet National Bank, Citicorp North America, Inc., Clinton Capital Corporation, The State
of New York, The City of New York, The City of New York Parking Violations Bureau were the Defendants. Said
Judgment was dated and filed on September 14, 1994 with the United States District Court, New York. Said Judgment was
subsequently thereafter filed on July 15, 1999 with the United States District Court, Southern District of Florida, Fort
Lauderdale, Florida. Said Instrument was subsequently thereafter assigned from Federal Deposit Insurance Corporation,
an instrumentality of the United States of America, in its corporate capacity by Assignment and Bill of Sale dated July 8,
1996 and subsequently thereafter assigned from JDC Finance Company III, L.P. to Value Recovery Group, Inc. by
Assignment and Bill of Sale dated April 19, 1999 but effective as of September 8, 1998. Said Judgment was subsequently
thereafter assigned from Value Recovery Group, Inc. to The Cadle Company by Assignment of Judgment dated October
22, 2002, but effective as of July 26, 2001 and filed on January 16, 2003 with the United States District Court, Southern
District of Florida, Fort Lauderdale, Florida. Zz 2

IN WITNESS WHEREOF, Assignor has executed this Assignment of Judgment as of January ; 2003,
but effective as of July 26, 2001.

¢ CWE? THE CADLE COMPANY, AN OHIO CORPORATION

By: /

William E. Shaulis
Its: Executive Vice President

        

> Sénvisky, Witness

STATE OF OHIO
COUNTY OF TRUMBULL

Before me, a Notary Public in and for said County and State, personally appeared William E. Shaulis who
under penalty of perjury in violation of Section 2921.11 of the Revised Code represented to me to be said person and
who signed the foregoing Instrument and acknowledged the same as his voluntary act and deed.

Executed this 22 day of January, 2003.

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(Notarial Seal) 7
Kathryn f. Sabol, Notary Public
PREPARED BY AND AFTER

RECORDING RETURN TO: KATHRYN T. SABOL, NOTARY PUBLIC
Rw Nom Te naa 12 STATE OF OHIO
igs gheele ppl MY COMMISSION EXPIRES MARCH 27, 2003

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NON-COMPLIANCE OF 8.D. fla. LR. 4.) IQ | ts
